 

Case 2:15-cv-00155-.]-BB Document 69 Filed 12/11/17 Page 1 of 1 Page|D 1645

 

IN THE UNlTED sTATEs DISTRICT COURT n l
FOR THE NORTHERN DISTRICT 0F TEXA§€§' 1 1 1111 &= 39

AMARILLO DIVISION f `
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AMARILLO INDEPENDENT
SCHOOL DISTRICT,

Plaintiff,

v CIVIL ACTION NO. 2:15-cv-00155-J

THE TRAVELERS LLOYDS
INSURANCE COMPANY,

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Defendant.

ORDER
Before the Court is the parties’ Fifth Supplememal Joim‘ Report on Status of Appraisal,
filed on December 8, 2017, seeking relief from the Court to file a Sixth Supplemental Joint
Report on Status 0f Appraisal on March 8, 2018. This motion is GRANTED. The parties are
ORDERED to file a Sixth Supplemental Joint Report On Status 0f Appraisal on or before March

8,2018.

IT IS SO ORDERED.

Signed this llth day of Decernber, 2017.

s/ Mary Lou Robinson
MARY LOU ROBINSON
SENIOR UNITED STATES DISTRICT JUDGE

